Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 1 of 79

 

 

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VALENTINE APARTMEN'I‘S, LLC
”aqainst_ Plai“ti ff ‘5’ stories or Mo'rton
dissach MA'rIAs,- MEILING 'rnoMssou TO DISMISS pursuant to
seaman fsi cruz sztipn(s)

 

PLEASE 'FAKIE NOTICE that upon the annexed affidavit of MEI`LING THOMPSON
sworn to on ~ii§¢§; of id 2035 , 201““_, and the attached eahibits, the Defcndant will

move this court located at 851 Grand Ct)ncoursc, Brons:, NY ll)~tSt Part 35, Room 503 ,

on the 4,#_, day ot‘WO] j , at 9:30 atn _, or as soon thereafter as can be heard

for an Ordet' :
Distnisslng the cause of action on the grounds that the Clourt has nojurisdiction over the
defendant pursuant to CPLR Section 3211 because the defendant was not served With the papers in this

case OR. did not receive the papers in the right way as required by the law, and for such other and further
relief as this Court deems just and proper.

PLEASE TAKE FURTI"IER N()TICE that (c|tcck the box below that is the correct statement): l

[] these papers have been served on you at least eight days before the motion is scheduled to be
heard. Yott must serve your answering papers, ii"any, at least two days before such time upon the
rnovant. At least three days prior to the time at which the motion is noticed to be heard you may
serve upon the moving party a notice of cross motion demanding reliet".

[] these papers have been served on you at least sixteen days before the motion is scheduled to be
heard. You must serve your answering papers and any notice ofcross motion with supporting
papers, if any_. at least seven da_vs before such time. Reply or responding affidavits shall be served
at least one day before such time.

Al| answering papers to the Court are to be filed on the return date of the motion with the Ciet'k
in the part listed above.

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Kavuliclt & Associates PC
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Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 2 of 79

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and between the parties that the above referenced

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Civil Court

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, at 9:30 am , or as soon thereafter as can he heard

for an C)rder :

l)istnissing the cause of action on the grounds that the Court has no jurisdiction over the
defendant pursuant to CPLR Seclion 3211 because the defendant was not served with the papers in this

ease OR did not receive the papers in the right way as required by the law, and for such other and iiurther
relief as this Court deems just and proper.

PL'EASE TA.KE FURTHER NOTI.C`E that ( check the hon below that is the correct statemcnt):

[] these papers have been sel'ved\DN;ou. at least eight days before the motion is scheduled to be
heard You must serve your answering papers, il` any, at least two days before such time upon the
movant. At least three days prior to the time at which the motion is noticed to he heard you may
serve upon the moving party a notice ol`cross motion demanding relief

[] these papers have been served on you at least sixteen days before the motion is scheduled to be
heard. You must serve your answering papers and any notice ot`eross motion with supporting

papers, if any, at least seven days before such time. Reply or responding affidavits shall be served
at least one day before such time.

All answering papers to the Court are to he filed on the return date ofthe motion with the (`,`lerk
in the Part' listed above.

.luly 29, 2015 Front:
MEI'LING 'l`i‘{OMPSGN
Civ Gl" lES 29 'DUNCAN ROAD

Hempstead, NY 11550

To: G` \:;),\

Kavulich dc Assot:iates F'C ( ?‘>
181 Westchester Avenue k.__d- K¢x.ot_?\ \(.C#\'\ dso g la an ‘c\r( “ulj"

Suite SOGC

l’ort' Chester¢ NY l0573

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~E.NTI NEI APARTHENT$, LLC

 

Plaintiff(s)

~aga'lnst" NU'}`ICE OF MUTION
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Defenciant'. (s) CI LR 3211(;1)(8)

 

PLEASE TAKE NO'I.*ICE that upon the annexed affidavit ol` MI'.`.IL[NG THOMPSON
JUL 2 9 2015

sworn to on dayr ot` _ 201_, and the attached exhibits, the [Jei`endant will
move this court located at 351 Grand Concourse, liranx, NY 111-151 Fart 35, Room 503 ,

\... ;_' _ .
on the z l , day ot` A"\~" § ‘Umf__’i_: , 201 § , at 9:30 am , or as soon thereafter as can be heard

f`or an Order :

Disrnissing the cause of action on the grounds that the Court. has no jurisdiction over the
defendant pursuant to CPLR Section 3211 because the defendant was not served with the papers in this

case OR did not receive the papers in the right way as required by the law, and t`or such other and further
relief as this Court decrnsjust and proper.

PLEASE TAKE FUR'I`I'|ER NOTICE that ( check the box below that is the correct siatcnicnt):

[] these papers have been served\o~n{c'iu at least eight days before the motion is scheduled to be
heard, You must serve your answering papers, it`any, at least two days be t`ore such time upon the
movant. At least three days prior to the time at which the motion is noticed to be heard you may
serve upon the movingl party a notice ol`eross motion demanding reliel`.

[] these papers have been served on you at least sixteen days before the motion is scheduled to be
heard. ‘i"ou mttst serve your answering papers and any notice of cross motion with supporting

papers_. it` a.ny, at least seven days before such time. `Reply or responding affidavits shall be served
at least one day before such time.

All answering papers to the Court arc to be filed on the return date of the motion with the C.‘lerti
in the Part' listed above.

July 29, 2015 lirom:
MEIL[NC: Tl"lOl\/lPSON
civ or 123 29 DUNC.‘AN ROAD

l-lentpstead, NY 11550

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Suite SUOC blair h

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Civii Court of the City of New Yoric
County of Brons

 

VALENTINE APARTMENTS, I,LC

Document 86-45 Filed 08/18/17 Page 6 of 79

index Numbcr: CV-OiUQSS~(lQ/BX

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AFFII)AVI'I` IN SUPPORT OF

 

' l Plaintiii"(s) MOTION TO I)ISMISS
-agams - .
russch MATlAs; MEILtNo THoMrsoN Puma“t to CPLR 3211(“)(8)
Defendant(s)

 

State ot' New York, County of SS{Court:Cotmty

MEILING 'l`HOMPSON, being duly sworn, deposes and says:

1. Party [Who you are] [Initial One]
tW/’
a) 1 am the IDei:`endant in the above entitled ease.

b) I am [_ Explain who you are]

2. Request ( What you arc asking the court to do)
l request that the Court issue an Orde.r dismissing the case on the grounds that the court

has no jurisdiction over me pursuant to CPLR 3211 because i was not served with the
papers in this case OR l did not receive the papers in the right way as required by law, or
grant such other relief as the C‘ourt may deem to bejust and proper.

 

3. Reason [Checlt C)ne]
f] I have a good reason because I was not served with the court papers (did not get

any of the papers) and found out about this action by

 

[r]/ 1 was not served with the court papers in the right way as required by the law. `
[Explanation is required] t_.t_')ot ' `- `tt'\ iq ,A_JY r.'.'.'t»-`i" ""m,"'“ `e
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. ‘ emma ts m daily
4. Prier order partial one] 019 my evidence
pin a) I have not previously asked for this relief regarding this index ntttnber.
b) l have had a previous Motion to Dismiss regarding this index number, but I arn making

this further application because

 

 

fl.Sworn to before me this ij day ofd'lg`§g(_, 20[_§ .`

D-l@@é-_»-Sc.c.n

l~iotary ;Publief Court Etnployee

 
 
 
 
 
   
    

 
  

 

Signa re of Movant
lLlNG THC)MPSON
29 DUNCAN ROAD
Hernpstead, NY l l550

'I`elephone Number iij (a "7\`3 "-G‘i"?i l:` g `=

    
 

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Case 1:16-cv-02134-ALC Document 86-45 Filed 0`8/18/17 " F""ag`e 7 Of 79

 

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Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 8 of 79

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Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 9 of 79 §
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Piaintiff, AFFI`RMATIQN
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- against »
MEILING Tl~iOMPSON, et ai. '
Dei"endant. l
................................. X t
Matthew Kasper, Esq., an attorney duly admitted to practice law before the Courts

 

 

of the State of New York hereby affirms the following under the penalty of perjury.
i. I am a member of the law firm of Kavuiich dr Associates, P.C., attorneys for
the l’iaintift`, herein. As such, I am fully familiar with the facts and circumstances of the
within proceeding except as to those matters stated to bc based upon information and
bciief, and as to those matters i believe them to be trnc. The basis of my beiiel"is
information furnished to me by my ciient, information contained within the Court"s fiie,
and information contained within the file as maintained by your aftirmant`s office.
2. l make this sflirtitat'ion in opposition to the Defendant‘s motion to dismiss. Anne>ted

iilll

hereto as Exhibit is a copy of Defendant’s motion to dismiss.
3. In her motion to dismiss, Dei`cndant avers that the instant action should be dismissed

because the summons and complaint were served at an address which was not her last known

residence in the state of New `t'ork. Piease see aforementioned Exhibit “".i

 

4. In support of this motion, Defendant proffers a public records report listing her

address history. Anttexed hereto as Ettitibit “2" is Defendant’s public record report.

Page 9

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 10 of 79

5. This public record report lists the address where the summons and complaint were
served as Defendant’s address attire time at issue Plcase see aforementioned Exhibit “".2
§AQK§§ROUND

6. On November 12, 2007, the parties entered into a lease agreement for the premises
known as 2654 Vaientine Avenue, Apt. BC, Bronx, New York, for a period of one year
commencing on Novcntber 15, 2007 and terminating on Novcmbcr 14, 2000 Annexed hereto
as Exltil)it “3" is the affidavit of l’laintiff’ s agent

7. On or about February l, 2003, Defcndant breached the lease agreement by failing to
pay rent pursuant to the terms of the lease agreement Please see aforementioned Exbibi.t “3”.

3. As such, Dcfcndani owes Plainiii'“f$l 1,768.00 pitts interest from February 1,2008
representing rental arrears and fees and expenses Plaintiff incurred as a result of Defendant’s
breach of the lease agreement Please see aforementioned Exltibit “3”.

9. Thereaftcr, on or about January 14, 2009 Piaintiff commenced this instant action by
filing the summons and complaint with the court.

10. Thereaiier, on February 13, 2009, Plaintiff caused the summons and complaint to be
served upon Defendant by delivering a copy of said summons and complaint to a person of
suitable age and discretion at Defcndant’s dwelling itouse, to wit: 2605 Marion Avenue, Apt.
EA, Bronx, NY 10458. Annexed hereto as Exhibit “4"` is a copy of the affidavit of service of
the summons and complaint

l l. The process server`s affidavit indicates that Def"endant was served in this
matter by delivering a copy of service at her residence located at 2605 Marion Avenue,

Apt. ?.i\, Brom:, NY 10458 to a person of suitable age and discretion Plcase see

aforementioned Exhibit “4".

Page 10

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 11 of 79

5. Tltis public record report lists the address where the summons and complaint were

served as Defendant‘s address at the time at issue. Please see aforementioned Exhibit “2”.
BACK§ iR[)UND

6. Dn November 12_. 2007, the parties entered into a lease agreement for the premises
known as 2654 Valentine Avenue, Apt. 3C, Bronx, l.\lew Yorlt, for a period of one year
coltttttencing on Noventbet‘ 15, 2007 and terminating on November 14, 2008. A.nnexed hereto
as Exhibit “3" is the affidavit ofPlaintiff’s agent.

'/`. On or about February i, 2008, Det`endant breached the lease agreement by failing to
pay rent pursuant to the terms of the lease agreement Please see aforementioned E.xhibit “3”.

B. A,s such, Defendant owes Plaintiff 31 l ,768.00 plus interest front February i, 2003
representing rental arrears and fees and expenses Plaintiff incurred as a result of l_`)efendant‘s
breach of the lease agreement Please see aforementioned E>thibit “3”.

9. Thereafter, on or about .lanuary 14, 2009 Plaintiff commenced this instant action by
filing the sun'tmons and complaint with the court.

10. 'I`hereatier, on February 13, 2009, Plaintit`t` caused the summons and complaint to be
served upon Defendant by delivering a copy of said summons and complaint to a person of
suitable age and discretion at Det`endant‘s dwelling house, to wit: 2605 Marion Avenue, Apt.
ZA, Bronx, NY 10458. Annexed hereto as Exhibit “-'-t" is a copy of the affidavit of service of
the summons and complaint

ll. The process server’s affidavit indicates that Defendant was served in this
matter by delivering a copy of service at tier residence located at 2605 l\/larion Aventte.

Apt. QA, Bronx, NY 10458 to a person of suitable age and discretion Please see

aforementioned Exhibit “4".

Page ‘lt

 

 

 

12. The ".lane Doe“ upon whom service was delivered did not notify the process server

that Dcfendant was no longer residing at that address
13. Defendant failed to answer the summons and complaint

14. As suclt, on or about April 14, 2009, a defaultjudgment was entered against

Det`endant.

15. 'l`hereafter, Plaintiff commenced execution measures to satisfy said judgment

16. As such, on or about April 10_. 2015 your affirmant’s office caused to be served
upon Defendant’s employer an income execution

17. Thereafter, on or about April 13, 2015 Det"endant made her first appearance in
the Within proceeding by filing an order to show cause and motion to vacate the April l¢i,
2009 judgment Anne:-ted hereto as l§xhibit “5" is a cop)r of said order to show cause.

18. Thereafter, on or about .l one E, 2015 Defendant’s motion to vacate was

grantedl
19. Defendant now moves to dismiss the within proceeding on the ground that she

was not served with the summons and complaint at her last known address. Please see

aforementioned E):hibit “l ".

20. rl`lte address where Defendant was served is listed on Defendant`s public record
report as Defendant’s address from Octobcr, 2002 through Septentber, 2013, squarely within
the period at which Defendant was served Please see aforementioned ll":`.id'iibit ““.2 Please see
aforementioned Hxhibit “4“.

21. Moreover, the process server’s affidavit states that deponent asked the person

spoken to whether the recipient was presently in military service of the United States

Page 12

 

 

 

 

 

determinearaaaeasealeevoalsamntr;neumoatae»eesttaaua/arsageasotro

C.`rovernment to which the “.Ianc Doe" stated that Defendant is not in the military. Please
see aforementioned Etthibit “4"`.

22. The individual who accepted process on behatfof Defendant did not inform the
process server that Defendant was no longer residing at that address

23. Therefore, the `Defendant’s allegation of incorrect service is without merit.

24. l"~`urtherntore, Defendant has failed to appear and defend against the instant
proceeding

25. As such, Defendant’s motion to dismiss should be denied.

WHEREFORE, Plaintiff respectfully asks that this Court deny the instant motion

and for such other and further relief as to this Coutt may seem just and proper.

Dated: Port Chester, NY
August 28, 2015

;Z%,»zf//
Kavdli€h di Associates, P.C.
By: Matthew Kasper, Esq.
131 Westchester Ave., Suite 500C
Port Chester, N'i’ 10573

(9`{4) 355-2074

Page 13

 

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 14 of 79

 

  

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-,"'-‘Civii C‘o,nrt of the City of New Yortt index bl“".iber: CV-DlUsBS-OQ/BX

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VALEN'I*INE APAR'I‘MENTS, LLC

 

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De fendant". (s} CI*LR 3211(:1)(8)
PLEASE TAKE NOTICE that upon the almexed aididavit of l't’[EILH‘iG 'I`HC)I\IPSON
JUL_ 2 9 20l5 *M‘q v
swomH to on day of , 201“_“_“, and the attached exhibits the Defendantmr will__ " '.;.`_ =;..Y=f:“s" .~ =._.,-- -
` h'+."T-i-'-:" -W . -§-';.'.tF=~h-'-“?“ J- -u~-~.»-~w ,i.t>-»~»-‘:=a»:it.l.JE~¢-pi¢-.-t-.._»=~¥-_ sur d w-‘-rm.-e¢“' ...._-_. .\~»¢H-,Whhhd few-v d -

w ‘r-.

motley this court located at 851 Grand Coneourse, Bronx, N"lt’ 10451 Part§i$, Roorn 503 ,

on the ZLl ,day of A'U §U€"f‘, 201 S'r , at 9:30 run , or as soon thereafter as can be heard

for an Grder :

Dism_issing the cause of action on the grounds that the Cotu't has no jurisdiction over the
defendant pursuant to CPLR Seot:ion 321 1 because the defendant was not served with the papers in this

case OR did not receive the papers in the right way as required by the law, and for such other and further
relief as this Court deems just and proper.

HIF¥;E_A.S_EMFHEF§IYBUQTI CEsbst tenants ties ssfsaatu»a aaaansa~asa‘~a¢aa= » - r-

[| these papers have been served on you at least eight days before the motion is scheduled to be
hcard. `You must serve your answering papers, if any, at least bare days before such time upon the
movant At least three days prior to the time at which the motion is noticed to be heard you may
serve upon the moving party a notice of cross motion demanding relief

[] these papers have been served on you at least sixteen days before the motion is scheduled to be
heard `Y"ou must serve your answering papers and any notice of cross motion With supporting
papers, if any, at least seven days before such tirne. Repiy or responding affidavits shall be served
at least one day before such time.

All answering papers to the Court are to be filed on the return date of the motion with the Clerlt
in the I’at't listed abcve.

July 29, 2015 _ _ ,__ _ _ v _ _ __. _ _ ll"`rorn:
MEHJUG"IHOWSON
-C='r GP 113 as outcome stvo ‘

I*Ienopstead, NY 11550

To:

Kavulich de Associates PC
`tBl Westehester Avenue
Suite 500C

`Port Chestcr, N‘t’ 10573

 

F'age 15

 

Civil Court of the City of Ncw Yorlt index Nombnr; CV-UlUBB$»OB/BX

 

C°““‘*' “‘B"°”""' iilliiil|i|llliiiil||lii|l|liiii|lllli|l|l
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State of New Yor}t, County of SS {Court:Ccunty

MEJ.`L}NG "l`HOl\/IPSC)l'~ial being duly sworn, deposes and says:

»»»»»»»»»»»»»»»»»»»»»»»»» __ .-- - ~m

1. Party [Who you are] [lnitia.l C)ne]

 

a) l arn the Defendani in the above entitled case.

b) I era [ Explein who you ere]
2. Request (`What you are asking the court to do)
lrequest that the Court issue an Order dismissing the case on the grounds that the court
has no jurisdiction over rne pursuant to CJPLR 3211 because l was not served with the
_papers_ in this case C)R I did not receive the p“per_s in_ th_e right w_ay*__ aslegu_ir_ed by law _Qr_
grant such other relief as the Court may deem to be just and proper.

 

 

 

3. Reasou [C‘.heclt Oue]
[] I have a good reason because l was not served with the court papers (did not get
any of the papers) and found out about this action by

 

.E//- Iwas not served with the court papers in the right way as required by the law W+;m
MFExplanation' is required] __',t'.,_ u.:)o§;, Yv:>it* \‘\»ni`mo `\o. "\i/\O &icedc c)€: A-?y' air `E

 

 

 

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"__ _. ___ .-.-r:£“-»"‘~‘Ml¢e¢& is fl Cvp,‘f
4.Paerorda[1nisn oan 03 rey career j

A_»[] a) l have not previously asked for this relief regarding this index number §
b) lhave had a previous Motion to Dismiss regarding this index number, but l arn making
this further application because

 

 

 
    

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Page 13

 

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CaSe 1`:11`=`_6-CV-02134-ALC Document 86-45 Filed 08/18/17 Page 20 of 79

CIVIL COUR'I` OF THE CITY OF NEW YORK
COUNTY OF BRONX Index No. 10985/09
---" -“ - x Filo No. 5327
VALENTINE APARTMENTS, LLC,

 

Plaintiff,
_ - AFFIDAWT
-against-

MEILING THOMPSON, et al.

Defendant

' -------- ww\,.,,x

 

STATE CJF NEW YORK )
COUI~JTY C)F KINGS § 33
I, Moshe Piller, being duly sworn deposes and says:

l. I am the agent for Piaintiii` VALE.NTINE APARTMENTS, LLC herein anti, as
sooh, I am fully familiar with the facts and circumstances of this proceeding as I arn
responsible for, inter alia, leasing of apartments collection of rents and maintaining legal
actions when required

2. I arn the property manager oftha subject premises and was during tbe time at
issue

3. On Novetnber 12, 2007, the parties entered into a lease agreement for the
premises known as 2654 Valontine Avenue. Apt. 3C, Bronx, New ¥orit, for a period of
one year commencing on Novernber 15, 2007 and terminating on Novenibar 14, 2008.

4. C)n or about February 1, 2003, Defsndant breached the lease agreement by failing
to pay rent pursuant to the terms of the lease agreement

5. PlaintiE obtained legal possession of the subject premises on Noveniber 30, 2008.

6. As such, Defendant owes Plaintii`f the sum of Sl 0,61 B.l}l) representing rental

arrears for Febmary, 2008 balance of 5718.00; and for the months of Maroh, 2008

F’age 20

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 21 of 79
through and including Novernber, 2008 at the agreed monthly rent of $l,100.00 (after

applying Det`endants security deposit of 31,100.00).

7. ln additionl Defendant owes Plaintiff 0150.00 in rental arrears in the form of late
fees for the months efJaauarr, sons arrange end including Meen, soos; the meets er
May, 2008; and for the months of Clctober, 2003 through and including Novernber, 2000

8. I`n addition, Defendant owes Plaintifi' $1,000.00 which represents legal fees the
Plaintifi` has been obligated to pay as a result of Det`endant`s breach of the lease
agreement

9. At no point during the tenancy did either of the Defendants inform rne of the need
tier any maintenance or repairs to the subject premises

10. To date, no part of the $11,768.00 owed to Plaintifi" has been paid by any source

lie As such, Defendant owes the Plaintit`l` $1 1,768.00 plus interest from Fehruary 1.
2008.

WHER.EFORE, your deponent prays that the relief sought herein is granted in all
respects and for such other and further relief as to this court may seem just and proper.

Sworn to before me this A/\lm d\,_,»-~`

5“‘ day ofAngust, 2015 _
Moshe Pillcr
425
Notary Pu‘}jie

EL|ZABETH F‘RERG
NUTAHY PUB|.|C, Stata cl New York
No DFPHEEBABEG
Una|iiied to Kings i'.`ounty
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Page 21

 

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Attoroeys: Kttvulleh de Assoeiates` P;C.
Address: 30 C`h\trch Stree¢, Suite 26, Nuw Reehclla. N`r' illBOI File No. 5327

 

VALEHTR{R APA.RT'MEN'IS LLC.
vs.

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Page 23

 

 

Case 1:1`6`-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 24 of 79

Page 24

 

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C`.'Di.mty‘ ofBrnuo: I"art 39

VALENTINE P.E'ARTi\-JENTS, LLC,
-againnt-

JESSICP. MATIAS. . . oi; al.

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dsi`nncin.nt nn this caso, and/or to dismiss
APPEARANCE 18 MAN'DATOH\'

 

UPON tim annexed affidavit of M'EILLNG 'I`l‘IOlVl`PSDN, sworn to onApril 13, 2015 nnci upon nil papers and

proceedings horoin:

I.,ct tim Cia.imoni(s)/Plni.ni.ifi`{s) or Clnimom(s]rl°lnintiff(s) onomcy(s) show cause atc

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851 Grnnd Concourss

Bl'oox, NY 10451
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be h¢im‘.i, why nn order should not bn maxim

VACATING thc Judgmoni, restoring to ihs oolsmlar, Vnc:nting any liens and income executions ancion dismissing
rios notion if warranted andfor granting such othor and further relief ns may bejust.

FENDING i.hs: hearing of this Ordnr to Sl'iow Cnoss. and tim nntry ni` an Ordnr 'ihern<m, int ali Pmoquings nn then

port of the Clsimont{s)fl°ln.iniiff(s), Cinlmnni(s)fPlnintiH`(s] nttnmcy(s) and ngoni(s) and any Mor$hnl or Sl'lorii'i` of-
tho C‘ity nlran Yorl: for the onforoomoni of sold .iudgmont bn stnynd.
SER\H`C`E of n copy of this Order to Sl:ow Causs, and annexed Afildovii, upon iho:

Clnimont(s)fPlsintifi`(s] or named attomsy(s):

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FRDDF GF SUCH SEl-W`ICE shall bn filed with the Clnrlc lo tim linn indicated above on the mtum date oi'Ihis Or_dcr tn Show

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Pox't Ch¢$i¢r, NY 10573

April 13, 2015
DATE

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Hon. Anthoisy C.nnnntaro, Civii floors lodge [N`:’C)

Page 25

 

 

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 _ Page 26 of 79

 

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_ &bt'vil Court of the L'.`ity ane-w "x'ot'k, tjoth of Bmm._ Cl`\f-DlOQES~OQ/BX

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7. ii tariff n) 3 have not had n previous Clrd¢t‘ to Shn\v Cnuse regarding this index number.
b,`) I have lied a previous C.`lrdcr to Shnw Cnu.sc regarding this indexnnmbcr but l ann malt-lng this application
nccause:

 

 

 

3. M request that the Jutlgment bc vacetcd, that the case be restored to the enlcndar, HHJENEWW
PQP:RIH§WW.

 

Swom to before me this day Ap.'il 13, 2015

 

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INDEX NO. 10985109

CIVII; COUR'I` OP` 'I.`I-IE CI'l`Y OF NEW YO`R.K
COUNTY DF BRONX

VALENTINE APARTMENTS, LLC,
Plnintifi",

- against ~

MElLING THOMPSON, et al.

Del`endant.

 

 

 

AFFIRMATION IN OPPOSI“I"ION

 

Signntnre Rule 130-l .l-n

Print Ncmc Beiicnth -

%¢W"

Mzrt"ihérn/Kespcr, Esq.

 

Knvnlieh & Assc)cictes, F.C.
Attcrncy for I’lninti'l"f`

lSl Westchestcr Ave., Snite SOOC
Pot“t Che.‘iter, NY 10573
(914)355-2074

Page 27

 

 

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Case 1:16-cv-O2134-ALC Document 86-45 Filed 08/18/17 Page 28 of 79

CIVIL CGURT OF “l`l-IE CITY OF NEW YORK
COUNTY OF BRON`X lndcx No. 10985f09
-------------------------------------------------------------- }{ File Nn. 5327

VALENTINE APARTMENTS, LLC,

Plaintiff, AFFIRMATION OF
SME.;B_Y.LQ.E
- against ~

MEILlNG 'I`HOMPSON, et nl.
Dcfcndnnt.
______________________________________________________________ X

Matthcw Kaspcr, Esq., nn attorney duly admitted to practice law before the Conrts
cfthc Stntc ofl\lew York hereby affirms the following lmch the penalty ol.`pcrjnry.

011 August 28, 20i 5, i served thc within Afiirmation in Clppcsition upon the
Dei`enclent Meiling Thompson by depositing n true copy in a post-paid envelope
addressed to:

l\flciling Thoi'npson

29 Dtmenn R.ood
licmpstcad, NY l 1550

in an official depository under the exclusive dominion and control of the United Stetes
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Case 1:16-cv-O2134-ALC Document 86-45 Filed 08/18/17 Page 29 of 79

 

 

 

_M___('¢::.tm C.‘otfni; of the City of Ncw Yorit index No; CY-biOBBS-UQIBX
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vatanrtnc accordance eric ()R,AL. ANSWER
"ag=\ln$t“ AC'I`ION FOR MONEY ()NL.Y

JESSICA MATIAS. . . et al.

 

Dct`endant, MEI[.|`NG THOMPSON, at 29 DUNCAN ltOAD, l.-lempstcad_, NY l 1550, answers the Complaint as

AMER; Dnt'ed : 06!08/2015
(Cher:k. ott met rtpply)
QHRKQBD

 

l ___ ficncrnl l.)cnial: l deny the allegations in thc complaint . 190
meanings ~’U/v g 3 "P!CE
2 XX ll did not receive a copy ol` the summons and complaint 30 - 257/§
3 ml received the Summons and Complaint, but service was not correct as rcquli"`?WO[/R
m { | ¢q O%:_;`
4 _l do not owe this dcbt.
5 _I did not incur this debt. l am the victim ol"identity theft or mistaken identity
6 ~__l have paid all or part ol" the alleged debt.
ii M};’“XMI dispute the amount of thc dcbt.
8 w Plaintifl`is required to be licensed by thc department ot" consumer althirs ol`thc City oi`l‘~lew Yorl< end
does not allege a license number in thc Complaint.
9 w Ststutc ot`l_,imitations ( the time has passed to sue on this dcbt).
lO mm 'I`hc debt has been discharged in bankruptcy
ll m'l`hc collateral (pl'opcrty) Wns not sold at a commercially reasonable pricc.
12 _FUnjust enrichment (the amount demanded is excessive compared with the original debt.)
13 _Violation ol" the duty ol` good faith and fair dealing
14 _i_lnconscionability (thc contract is unfair.)
15 M.Lschcs (plaintitl* has excessively delayed in bringing this lawsuit to my disadvantage.)
lti WDcli:ndant is in the military
17 thhcr:
*_“o'rt»lsn
13 _M*Pleasc take notice that my only source ol"incomc is ,which is exempt from collection
cod§rmcnctlatm
19 Counterclaitn(s):$ W Reasort:

 

 

This case is scheduled to appear on the calendar ns follows:

Dnte: August 341 2015 Pnrt: Pnrt ll - Scll` cht'csented Non-.lnry lioom 503 Timc: 10:30 AM Both iiich Notiiictl:

 

 

 

 

 

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Port Chcstct', NY 105 73 `__”__b

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Defendant{§]_fl{espondent(s)

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Case 1:16-cv-02134-ALC Document86-45 Filed 08/18/17

Page 31 of 79 ` _l
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”'_""'_d"_'-_‘M Judge, Civil Court
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VALE`.N'I*INE APARTMENTS, LLC. l'_)mg l, ll,lll_l " "‘ OR`[)[CR TO SHOW CAUSE
~aqa inst “- l" l 5 pills l “i‘o Vaeate a .ludgment. restore case to the C.'-,tlendar, and
JE$SICA MATIAS. . net Etl . ‘ “?* ij _» vacate any |ien:»' end income executions involving this

defendant on this cese, enti)’or to dismiss
AFFEARANCE 13 MANDA'[`ORY

UI*ON the annexed nt‘lidev'tt oi`MEIL`lNG 'I`I-IOMI’SON, sworn to on April 13, 2015, end upon all papers end
proceedings herein:
l.et the Cloinmnt(s)/Plointili"($) or Cleimant( ($)/Piaintiti`(e`) ottorney(sl) show cause at:
C'ivil Coutt ofthe City of Ncn 'itork
851 Grnnd Concourse
Bt'onit“, NY 10451
Pnrt 34 l{ootn 503
onflpplll'£:l ajl leo/54 at9:3t]AM
or ce soon tl1erenite1 ne counsel may be henrd, Why nn order should not be made
VACATING the Jtldgmcnt, restoring to the ealencler, vacating any liens end' income executions end/or diemissing
the notion if warranted end/or granting such other end further relief es may bejust.
I’ENDING the hearing of this Order to Show Cnttse end the entry of an Orcler thereon., let all proceedings on the
part of the Cleiment(e)fPInintifi`(s), Cleiniant(s)/Plnintit`t`(s) ttttorney(s) and ogent(e) end any Mershe[ or Sherif`t" of
the City oi` New Yorlc for the enforcement of said .Iudgment be stayed

SERV`ICE of n copy of this Order to Show Ceuse, end annexed Aitidevit, upon the:

 

 

C‘lnimont(e)/Plaintiif(e) or named ottorney(s): Sherit`fi or Mnr:~:hal:

(Judge to lniti:tl) (.ludg,e to lnitial)
by liex'eonal Service by " in I-iattd Delivery" by Personnl Seryiee by " l`n. I-Iand Deliyery"

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on or before i __) i 5 , shell be deemed good and sufficient

 

PROO.F CIF SUCH SERVICE shall be filed with the Clerk in the Part' indicated above on the return date oftltis Grder to Show
Ceuse.

Attomey{s): Mnil to: Sherift`fl\dershel:

Kevulich 1515 Associates PC (C.ottnsel t`or Plti) Mershel ot` the C.ity oi`i‘~lew Yorlc
131 Westchester Avenue Biegel, Stephen, Marshal

Suite SOOC 109 W 38 Street

Port Citestcr, NY 105'1'3 Sttite 200
‘ New York, NY 10018-3615

re W-/
Ap11113,2015 _l _____

DATE i-lon. A.nthony Cennetoro, Civil Cottrt' lodge (NYC)

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Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 34 of 79

   
   
  

ourt of the C.ity ot"New York, County ot`Bronx CV-Ol 0985-09/£3)(

-"ENTINE'. APAR‘I‘MENTS, LLC Afl`tdavit in Support to restore case to the
~against- caiendar, and vacate anyjudgment, liens

» E$$ICA MATIA$' - - at dl- and income exeotttione involving this defendant
on this case , andft)r to dismiss

 

State of New York, County ot`Eronx
MEII..ING THOMPSON,being duly sworn, deposes and says:

(D l` ndanlt‘ts' nitinls)
1. rig a) I ann the Party named as(ll'tefendant Respondent)` tn the above titled action.

 

2. e) l have been sewed with a summons and complaint in this action. iNDTE: iranian Ctnims skip #3, and
go to # 4|

ll h) I have not been served, and my first notice of legal action was [NOTE: if you complete any ot'#;th,
skip #3, #4, #5, and go to 1161

11 Notice ot" Det`auh .ludgment mailed to me

la Re.~:training Notice on my bank account. g.
m n CDPY nfan lncotne Exeeution served nn pt Fi’-l‘-/L / 0 1 a 0 / .J
Other: l

 

 

 

 

a) I did net appear and answer 111 the Ctert<'e Oft'me becenst'==[NOTE= if rn\cnmn|ct¢ tt 3=\, thin and en fn ittil-

\
b} l did a pear and answer in the Clerk C)fi`tce \
and I received a date for trial. l
late

 

ut the answer was entered
lher: ‘- \

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a judg tent was entered after the tria|.
a judgn nt was entered against me by default for my failure to appenr. \
01t1er: '

 

 

 

1 ________ 1

5. My reason for no \

complying vith the stipulation is `

following t e order ofthe Cottrt is

appearing in ourt on the date scheduled for trial is
Other:

 

 

 

 

 

 

 

 

52 /bli We//fal§getltatlltaveagood defense becau$e::l: mri\lt?,£~i OQ'\ Wb" l‘?.§'\ "3‘1"*€. Q§Q\`l\t‘t‘\€n"it“
:) m}/ 1131-emma

 

 

_________m._ b) l have had a previous Order to Show Cause regarding this index number but l am making this application
because:

 

id if I request that the .ludgment be vacated, that the ease be restored to the calendar, an "

 

Swom to before me this day April 13, 2015

duly w j,( O/; (Sign Name)_d/L’!l[lt“€t K-\"V\O~tnl?:?"h
s ~c are/1514 '-s. hen Mrstho recreation ‘
Signatore oI`Court Emptoyee and 'l`ttt¢L) / 29 DUNCAN 110 AD

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Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 35 ot 79

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VALEN'I`INE APARTMENTS, LLC.,

lilaintiff,
AFFIRMATION Ii*~l
-ngainst'- OPPOSITION
1\'1 EI`LlNG il`t~lOMPSON,
.llESSlC/\ MATIAS,
Dcfcndant.

.................... --_- .__----MX

 

Matthew Kasper, Esq., an attorney duly admitted to practice law before the Court ot` the
Statc ot`New' York, hereby aftirnts under the penalty ot:`perjtn'y:

i. l am an associate of Kavluiieh tie Associates, P.C., attorneys for the i’laintiff herein As
sttch, l am fully familiar With the facts and circumstances of the within proceedingt except as to
those matters stated upon information and belief, as to those matters l believe them to be true.
The basis ot` my belief is information supplied to me by my clieat, information contained within
the court file and information maintained within my oflice_

2. l make this affirmation in opposition to the Defendant MEII.,lNG T[‘iOMFSCtN’s Order
to Show Catlse which seeks to vacate the instant judgment issued on default. l’lease see
ltespondent’s instant Ordet' to Show Causc and Proposed Answer annexed hereto as Esltibit "‘l ."‘

STATEMENT C)F 'I`i'ii_i UNl")iSPUTED FACTS

l. The parties executed a lease agreement for the premises known as 2654 Valentine

Avenoe, Apt. 3C, Bronx, New York, Plaintifl’s building Anne>:ed hereto as E)rliibit “2" the

affidavit ol`Moshe Piller.

Page 35

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 36 ot 79

2. 'I`he tenn ofthe lease agreement was t`or one year commencing November 15, 2007 and
ending Novetnber 14_. 2003. Annexed hereto as iixhibit “3” is a copy ot` the lease agreement

3. Almost immediately tltereaii.et', Defendants began to accumulate rental arrears. Annexcd
hereto as Exhibit “4“ is a copy of the rent ledger.

4. i’laintiffobtained legal possession ol`the subject premises on November 30, 2000

3. As such, Defendant owes Plaintit`fthe sum of $l l,768.00 representing rental arrears t`or
the January, 2003 balance of 55768.00; and for the months ot"i"ebruary, 2003 through and
including November, 2008 at the agreed monthly rent of$l,100.00.

4. Defendant was served With a summons and complaint via conspicuous service on
liebruary 13, 2009. Annexed hereto as Ex_hibit “5” is a copy of the summons complaint and
affidavit ol`service.

5. Dcfendant failed to answer the summons and complaint

6. A delialtit judgment was entered against Defendant on April 14, 2009.

'i. Dei`endant now moves to vacate that judgment

"l`i-IE DE`FENDANT’S lNSTANT MOTION DGES NOT DE.MONSTRATE Al'\l
EXCUSABLE DEFAULT AND M.iilth’fORlOl.lS DEFENSE. T`HEREITORE THE

MOTION SHQLJLQ BE DENIED

B. in order to prevail on this instant motion, Defendant must prove both an excusable
default rtan meritorious defense as upon showing of both of those pt'ongs, vacating a det"ault
judgment is proper. CPLR 5051(a)(l); drink of/tm. v. Farncco, 89 Athd 879 [2d Dep’t 201 l];
(;`ottmttrinityt Pt'e.rerve. C'or'p. v. B)'idgewrtter cottdo)itinittms, LLC., 89 AD3d 784 [2d Dep"t 201 l].

9. Moreover, should Det`endnnt demonstrate a reasonable excuse for the det`ttutt, a Courl
must nonetheless uphold the default judgment when thc Respondent's papers submitted in

support thereof are replete with self~serving, vague, unsubstantiated denials, and unsupported

Page 36

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legal conclusions Tl'ropt v. Lu!herrm Med. C`.'t., 89 Al_`)3d 837 [2d Dep"t 201 l]; (',iorrl[
lltholeso!ers, Lm'. v. Ruven Br‘onds. firc., 82 AD3d 1041 [2d Dep’t 2011].

l(l. lt is respectfully stated to the Court that IJel`endant has failed to demonstrate both prongs
and that this motion must be denied.

11. Defendant alleges that she was not served with the summons and complains however she
offers no support for this such as an explanation of where she was living at the time or a
suggestion as to how process did not end up in her possession

12. A process server’s aflidavit constitutes prima facie evidence of proper service pursuant to
CPI.R 308(4). Cr'ty ofNew l"ork vi Mi][er, 2010 NY Slip Op 03059 (2d Dep`t 2010).

13. Defendant's self-serving and conclusory statements are insufficient to rebut the
presumption of service.

ld. Moreover, Defendant alleges that she “ntoved out and left the apartment to [her]
roommate.“

15. As is a Well settled principal oflaw, co-tenants are jointly and severally liable for rental
arrears accrued Wliether or not one co~»tenant actually occupied the premisesl

16. As such, Defendant’s purported meritorious defense fails

17. Moreover, [)cfendant has failed to appear and defend against the instantjudgt‘l“ient.

18. CPLR 317 states as follows:

A person served With a summons other titan by personal delivery
to him or to his agent for service designated under rule 318_. within
or without the state, who does not appear may be allowed to
defend the action within one year after he obtains knowledge of
entry of the judginent, but in no event more than five years after
such entry, upon a linding of the court that he did not personally
receive notice of the summons in time to defend and has a
meritorious defense

19. The instant default judgment was entered more than five years ago (April 14, 2009); as

sueh, Defendant has simply ran out oftime to defendant against the instant judgment

Page 37

 

20. As suclt, Del"endant’s Order to Show Cause should be denied as (a) defendant has failed
to set forth a meritorious defense and (b) her application is untimely pursuant to CPI\.R 317.

WI-lEREFORE, as no legal or equitable basis has been stated or exists, Plaintiff

respectfully asks that this Cour't deny the instant motion.

Daledt May 15, 2015
Port Chester, NY %
readiness associates P.c.
i3y: Matthew Kasper, Esq.
Attorney for Plaintii`f
131 Westchester, Ave., Suite 511le
Port Chester, NY 1057

(914) 355-2074

 

Ca§”éj_§[€-CV-OQlS£t-ALCDOCumentSG-AET-"IleCi@S/‘]B/l?PAQGBSOTVQ

 

 

 

Page 39

 

 

 

 

EXHIBIT 1

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"B‘:`l aim 5 l'-”' To Vacate a .iutlgmcnt, restore case to the Calendar, and
JESS ICI-l MATIAS . . . et al . vacate any liens and income executions involving this
defendant on this case, auditor to dismiss
APPEAHANCE 15 MANDATORY

 

UPON the annexed affidavit of MEtLlNG THOMPSON, sworn to on April 13, 2015, and upon all papers and
proceedings lierein:
Let the Clalntant(s)!Plaintifl`(s) or Claimant(s)fPIaintit`Tf(s) attorney(s) show cause at:
Civil Court of the City of Ncw Yerk
851 Grand Concourse
Bromt, NY 10451
Part 34 Rcom 503
on /:lp£F”/Lr 271 grsz Blg:.'itOAM
or as soon thereafter as counsel may be heard, why an order should not be made:
VAC‘ATING the iudgment, restoring to the calendar, vacating any liens and income executions and/or dismissing
the action if warranted andfor granting such other and further relief as may bejust.
PENDING the hearing of this Clrdet' to Show Cause and the entry of an Order thereon1 let all proceedings on the
part of the Claimant(s)/Plaintit’f(s), Claimant(s)/Plaintili{s) attorncy(s) and agent(s) and any Marshal or Sherift` of
the City of New 't’orlc for the enforcement of said .ludgrnent be stayed
SERV!CE of a copy of this Order to Sltow Cause, and annexed Aftidavit, upon thc:
Claimant(s)!i’laintiff(s) or named attorney(s): Sherif.i`or Ma.rshal:
(Jt.ldgc to lnitial] (.ltidge to lnitial}
by F'crsonal Service by " In Hand Dclivery" by Personal Service by " ln Hand Delivery“
.,,_»’_' by Certificd Mail, R.eturn Reeeipt Requested ; by Ccrtified Mail, Rcturn Reccipt Requested

 

 

by First Class Mail with official Post Office m by First C`|ass Mail with official l’ost Oilice
Certificate o)'Mtu' 'ng Certifieate ot`Mailing
on or before ‘"'i i -i l l , shall be deemed good and sufficient

'

PROOF Oll' SUC`H SERVlCE shall be filed with the C`lerk in the Part indicated above on the return date ofthis Ordcr to Show
Cause.

Attorney(s): lvlail to: Sheriil`/l\darshal:

Kavttlich dr Associates PC (Counsel for P.ltf) Marshal efthe City of New 't’orlt

181 Westchcster Avcnue Bieget, Stcphcn, Ivtarshal j
Suite .SOOC t 109 W 33 Street

Port Chestcr, NY 10573 Suite 200

New Yorlt, NY 10018-3615

(") ""“ {~_“"'r----
Aprii 13, sets .~»-"-»-~“--._ --e__-s.._

DATE Hon. Anthony Cannataro, Civil Court lodge (NYC}

 

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' VALr-_“.N‘l‘rlrs At-“'ARTMBNTS, LLC'. Aftidavit in Support to restore case to the
fagain$ E" calendar, and vacate any judgntenl, liens
JEBSICA HATIAS' ‘ ' at al ' _ _ _ and income executions involving this dcfcndant""" "_

on this case , and/or to dismiss

 

Etate ol“l‘~lew 'rorlt, Couory of Bronx
MEILING THOMPSON,being duly sworn, deposes and says:

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l. g "'"Ja) 1 am the Party named as(tDcfendantl(Respondeitt) in the above titled action.

a) I have been served with a summons and complaint in this action. lNC}TE: lmeall Claims strip d$, and
go to rt 41
_M) 1 have net been served, and my first notice of legal action was {NOTE: tryon complete any orszb,
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Other;

 

"'n.”-¢-

 

 

 

a] l did not appear and answer in age Clerlt's thfice because:[i*lOTE: if y complete il Sa, strip and go to Hlil.
\

b) I did a peer and answer in the Clcrit office \

a.nd 'l received a date for trial. \

 

ut the answer was entered late
thcr:

 

4. Gn the Date Trtal before ludge/Arbitralor
s slip larion(s written agreemettl) was rn c between claimant/pietntili'and defon t.

_H_._ ajud tent was entered alter the trial.
ajud * nl was entered against me by dofsul \l"or my failure to appear. \

Othcr; ~_ t

  
     
 

 

 

 

complying ith the stipulation is
following e order of the Court is
appearing in ourt on the date scheduled for trial is

mm Othcr:

§ Mir rglal:?§ethatlhaveagoo defense beeaunt:“sl.;7 model-5 Go’t Ofk;\ l'l'~g( `l‘lr""?- §”\Hltr]lm€n"‘£'
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7. ’,l_/l__l:\,fm/ a) l have not had a previous Ordcr to Show Cause regarding this index number.
b) l have had a previous Order to Show Cause regarding this index number but l am mailing this application

heeausc:

m»-»-".--‘--n-»

8. fljli lf'rl request that the ludgment be vacated, that the case be restored to the calendar,

 

 

Swom co before roe this day April l3, 20l5

j _,» (Sign l‘lernc) 1
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F’age 42

 

 

 

Page 43

 

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/1_8/17 P--§_ge 44 of 79

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EXHIBIT 2

 

Case 1:16-cv-02134-ALC Document 86-45 Fi|_ed 08/18/17 Page 45 of 79

 

CWIL COURT OF THE CITY GF i\l'EW YORK
COU'NTY C)F BRONX loch No. 10935/09
-- ----- -->t Filc l‘~io. 5327

VALENTINE APARTMENTS, LLC,

 

Ptsinnrf,
pistonsz

-against-
MEILING THOMFSDN, et al.

Defendants.
“' x

 

 

STATE OI" NEW YOR.K )
] SS
COUNTY CJF BR.ONX )

l, Moshc Pillcr, being duly sworn deposes and says:

1. l am the agent for the Plaintifl`, VALENTI`NE APAR.TMENTS, LLC, herein end,
as stich, l am fully familiar With the facts and circumstances of this proceeding as l am
responsible for, inter oiz'o, leasing of aparnnents, end overseeing maintenance of the
property when required

2. l was the agent during the lime in issue of this proceeding

3. 'l`lte parties executed a lease agreement for the premises known as 2654 Valentinc

Avenue, Apt. 3C`, Brortx, New Yot'lc_, Plaintifi"s buildingl

4. The term of the lease agreement was for one year commotiong Novcmbcr 15,
2007 and ending Novcmber 14, 2008.

5. Almost immediately thereafter, Defendant began to accumulate rental streets

6. Plaintift` obtained legal possession of the subject premises on Novetnber 30, 2003.

?. As stich, Defendant owes Plsintift`tite sum of $11,768.00 representing rental
arrears for the January, 2008 balance of $?68.00; end for the months of l~`ebntary, 2008

through and including November, 2008 at the agreed monthly rent of $l,l 00.00.

Page 45

 
  

   

Ca§`é `ii`l€`l`é`iil`d21`§4`-`A`LC" " Dc`)`é`u""r`n`éii`t"`§ ii
8. My attorneys have advised rne that ajudgrnent was entered against the

Defendants on April 14, 2009.

WHEREFCRB, your deponent prays that the ourt deny the instant motion as no
legal or equitable basis has been provided

S m to before me this if \j\/\
Yssy string 2015 /`)\

M Moshe Piller
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NOFARY PUBLIC, Stste cf Nsw Ycrk
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Ccmmitttcn Expt‘rtt Janusry 24, 2019

 

   

 

 

 

F’age 47

 

 

EXHIBIT 3

Page 43

 

 

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Ca§é 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 49 of 79 \

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Page 49

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Case.l:l@-cv-ozl?,¢t-ALC_ Document86-45 r=rrecr 03/18/17 Pé¢jlléllébl`éll?§ l
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Page 50

 

 

EXHIBIT 4

Page 51

   

   

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Page 53

 

 

EXH|B|T 5

   

 
 

  
     

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COUNTY 03 ‘BRONX

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Valcntinc opanmenls, LLC,
Flm`nliff. iNDEX NO.
FlLE NO. 5327

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SU}~'!MONS
Piucc oi` chuc is Piaintiff's
place ol'businoss:

Moiling Thompson, Jcssica Matia.a,
2654 Vaionlior: Avonu¢:
Bromc, NY 10458

Dcl`cndan\(a)

 

To thc above named daieridmlls(a):

YOU ARE HEREBY SUMMONED lo appear al tim CI`V|L CC)U'RT OF 'IHE Cl'l"x’ OF
NEW YORK, CDU'NTY UF BRC|N.K al tile ol'[im: ol'lho clerk ofth¢ said Courl at 851 Grzmd
Concoursc, Bronx, NY 10451, in lhc CDUNTY' OF BRONX, Scalc ochw York, within tim
lime provided by law as noted below and lo tile an answer to the below complaint with thc
olerk: upon your failure to answor, judgman will be taken against you for mo sum of
$12 ,26$. 00 with` interest thcrcon from January 1,2008 logo-mar with costs o ‘ -

   
 

DA‘[“EID: .lanuary 4, 2009

 

Kavulic:h & Associalca, P. Cl.
Altomoy l'or Plaimil`i`
30 Churcii Stroei
Suilo 26
N\:w Rocho|l¢, NY IDHGI
(914) 355»2074

o ' os‘
M¢iling 'f'hompson Jussioa Malins,
2605 Mariun A\'aooe, Apl. ZA 247 Audubon Avcnuc Apl. 33
Bronx, NY 10453 Ncw York, NY 10033-7316

Notc: The law provides that (o) ll' the summons ia served by its delivery lo you personally
wilhin lho Cily of Now York, you must appear and answer within TW'ENTY days after such
sarvicc; or (b) if the summons is served by any means other than personal delivery to you
within the li,`it},l of Nev.- York, you must appear and answer within 'I`H`lil'i`ic’ days after proof of
service thereof is filed with lim Clcrk of this Courl.

Page 55

 

 

rim §§1=45 "`F'i'led 03/18/17 Page 56 of 79 "

 

Casé""i`i"`ie-‘cv-'oz134`-ALC""

FI`RB'[' AC'I`ICIN: Plalntit`l`seeks to recover damages front defcttdant(s) for breach ol‘ s lease
agreement in the sum ol`$l l,763.00 representing rental arrears l`or the months ostnuar}/, 2008
balance of $763.00; Fehruery, 2003 through and including Novernber, 2008 et the agreed
monthly sum of 31,100.00 l`or the premises known as 2654 Vttlentine Avcnuo, Apt.ElC Hrorut.
N`Y 104er together with costs end disbursements oi` this action and for such other and further
relief as the court ntey deem just.

SEQQND §§I,!Qt_\{: P|aintit`fsr.eks to recover damages from the defendant in the sum of 5000
representing damages together with costs and disbursements oi` this notion end for such other

end fbrther relief as the Court may deem just.

THIRD ACTlDN: Plaintit'l` seeks to recover damages front the defendant in the sum ot'
5500.00 representing reasonable nttonte_vs fees together with costs and disbursements oi`this
notion end for such other l`urther relief as the Court mary deem just.

WHEREFORE, Pluirttili" demands judgment (A) on the First Aetion, in the sum ol`$l i,?tiS.UD
plus interest from lunuary l, 2008 together with costs and disbursements ot` this action and t`or
such other and l`urther relief as the Court may deem just, (13) on the Seoond Action, in the sum
ot` 0.000 plus interest front industry l, 2008 together with costs and disbursements of this
notion and for such other and further relief as the Cout.'t may deem just, (C) on the Third
Aotion, in the sum of`S$00.00 together with costs and disbursements ol` this notion and for
such other and further relief ss the Coun may deem jusl.

The Piaintii`f in this action is NO'I` required to be licensed by the New York City
Departrnent ofConsumer Al'l`airs.

Page 56

 

 

      
 
 
 
 

 

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aneNt“tNe investments LLC

\"S.
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COUN"IY Ol" BRON`X: PARi 34 lNl`JIEX NG. 10985/09`

------------------------------------------------------------- }{ l""ILl_i l\l(j`). 5327
VALENTINE APARTMEN'I"S, Ll_.C.,

Plttintil`l`,

g_\l*`l"lRMA'l"lDN ()l"
-ugainsl- SERVICE

MElLlNG 'I`HOMPSON, E'I` AL.,

Det`endant.
............................ x

 

Gery Kavulieh, Esq., an attorney duly admitted to practice law before the courts ot`the
Sutte ol`New York hereby affirms the following under the penalty ol`perjury.

On Mey 15, 2015, l served the within A.t"firmation in Opposition upon the movant in this
eetiort, by depositing a true copy in a post-paid envelope addressed to:

MEIL[NG Tl--IGMPSON, et sl.

29 Duneett Roeci
I~Iempstend, NY l 1550

itt an Oi`ficial depository under the exclusive dominion end control ol` the Unitecl St'ates Postal
Service within the Stste of New York via regular first class meil.

WW€F

Matthew l<asper, Esq.

Page 58

 

, Case 1:16-cv-02134-ALC Documem§e#¢te Filed 03_/18/17 Page 59 of 79
l l .
tNoex No. 10985/09

ClVlL COURT OI" 'I`HE Cl'i`Y OF NEW YORK
COUN"[`Y OF BRONX: PART 34

VALEN“I`INE APARTMENTS, LLC.,
Plttintiff,

» against ~

MEILING ’l`l-IOMPSON, E'i` AL.,
Dei"endeut.

 

AFFIRMATIGN IN OPPOSITION

 

Signature Rule lBO-l.l-a

l’rint Nzlme l:`teneath » Miattllew K.asper, Esq.

 

Kevulieh &. Associates, P.C.
Attomeys for l’letintiff

181 Westehester Ave., Suite SOOC
l’ort Chester, NY 10573

(914) 355-2074

F’sge 59

 

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 60 of 79

Bronx Counly Civi| Couri
Civl| Judgrnent

 

Plalntlff(s): lndex Number: CV-OlDBB§-UBIBX

VALENT[NE APARTMENTB' LLC Judgrnent issued: On Dstsult
vs. Ort Moiion of:

' KAVUL|CH 8¢ ASSOC|ATES. PMC.
Djé';"§|‘g‘;§:imm& so GHURCH sTREET, sums 26. NEW
' ROCHELLE. NY 10501-

ME|L\NG THC}MPSON
Amounl claimed 51 1 ,YBB.U[] G'ost By Slelule $EB.UO Trensl:r|pt |'-“ee $o-OG
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L€$$ CWl'liBmlF-tim OWSE\ $U,DU $ervioe Fee $25_00 Enforeemeni Fee 540.00
interest mmi/2008 at 9% 51 .358,[](] Non M|!iiery $O_UO Olher Disbursements 5000
Attorney fees $()_()[) Nollce oiTn`e| $U.UD Dlher Cosis $O_OO

Jury Demsnd $D_DO

Totel Derrteges $13,126.00 Tota| Costs & Disbursernents $160.00 Judgment Tote| $13.286.00

The following named perties, addressed end identified es creditors below:

P’|eintiff ereditor(s] and eddres$
('I) VALENTlNE APARTMENTS, LLC

2654 VALENT|NE AVE. BRONX. N"l" 10458-

Shell recover of the following perlies, addresses end identified ss debtors below:

 

Deferident debtor(s) end address
(‘i) JESSiCA MATIAS

247 AUDUBON AVE #33, NEW YORK. NY 10033-7315

(2) Meit,luo THoMPsoN

2505 |VIARlC)N AVE #EA, BRONX, NY 10458-

 

.ludgment entered et the Eiron>t Gounty Civll Court, 851 Grend Coneourse. Bronx, NY 10451, in the BTATE OF NEW YORK
in the total amount of $13'285.00 on 04!14l2009 st 02:35 PM.

Judgmeni sequence ‘t

sir-we- `/GQW

 

desk Baer, Chief Cierk Civil Col.trt

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Pege 60

~¢»».e..o.._ C_ase 1:16-Cv-02134-ALC Document 86-45 Filed 08/18/17 Page 61 of 79
t`l\’ll.. t`.`t`)t..il`i.'l" OF 'l"ll.ii C`ITY OI" Nl.`-,W YORK
C_`Ol_i`N`I"r’ OF lmwa
----------- ...-----'--m---m-F-»~»»~»m~-""-»-------~~ l`NDE){ NO. 10985:'09
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1`~`1Li`i NO. 5327
I’LA[N'l`ll"`F(S} JUDGMENT

-AGAINS'I`~

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2654 Valentine Avenue.
Bronx, N`Y' l0458

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STA'|`E OF NEW YOR.K. C`OU`N"}“Y OF WESTCl'ifiSTER:

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BY: GAR'Y‘ KAVULICH ESQ.
30 Cl‘lUI{Cl-l S'I`R_EE'I`, SUITE 26
JUDGMENT ENTER_ED ON NEW ROCHELLE, NY lOSOl
SERVICE OF SUMMDNS AND COMPLAINT IN TI-liS ACTlON ON THE DEFENDANT(S)
l-lERlEli\‘ t-iAVING [SEEN COMI`*[,E'I`EI) ON 4!4/2009 Wl'I.`HIl'~i THE CITY UF NEW YORK ON THAT DAY AND MC)R.E Ti-lAN 20
DAYS
l-lAVlNG ELAPSED.
BY Fil.lNCi QN SMD DAY OF PRGOF OF THE SERVICE TI-IER.EOF BY SUBSTITUED SERVICE C)N DEFENDAN'!`{S)
AND MOR.E 'i`l'l.r\i.\i 30 DAYS l-'lAVlNG EI,AVBED SINCE Tl-IE DAY OF COMPLETION DF $ERVlCE AND Ti-lE TIMF_ OF SAlD
DEFENDAN`]`(S) TO AI’PEAR AN`D ANSWER I-[AVIN(] EXPIRED, .r'-\ND
NOW ON MOTION DF KAVUL]CH 81 A$SOCIATES, P.C. ATTDRNEY(S) IiOR Tl-lE PLAlNTIFF(S] IT lS, ADJUDGED 'l`I-IAT
Vz\ientine Apsrrmeriis, LLC
RESID]NG AT: 2654 Vaientine Avenue Bi'onx, N‘r' 10458
RECCJVER OF Meiling Thornpson, lessieri Motins .
RESIDING AT: 2605 Merion Avonur: Apt. 2.¢\ Bronx, NY li]tl§S - HE-‘ il"l"t who Mi?s ‘m i_ _
247 Audubon Aventte Apt. 33 New ‘i’ork, NY 10033~?316 “ ]c“ § 5~ C F\ HT "°‘ 5
THE ESUM OF iii I,FGE.ODWITH IN'l`ERES'l" DF $B?O.lj MAKING A TO'I`AL Ol`-` $12.638.l.“)_'i`GGlE'i`l'lEit Wl'i`l'l Sl()`(i.l)t) COSTS AND
DlSiBUR.‘SlIM EN‘I'S. AMOUN‘I`!NG I`N AI,.l. TO 'l`i'lli SUM OF $12,?93.15 AN`D THAT PLAINTIFF i-lAVE. EXECUTEON THEliEl`-`OR]E.
EEC{',)NIF) r\ND THIR.D CAL}SES OF ACTION ARE I'IERE.BY WAlVED.

 

CLERK

F-"sge 61

 

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 62 of 79

    
 
  

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mine Ap:arirnenis, LLC,

l"LAlNTlFF(S) AFFIDAVIT DF FACTS
CONSTITUT]'NG THE CLAI`M
AGAINST THE DEFAULT AND THE
AMOUNT DUIE`.

Meiling 'I`liompson. Jessica Matias
DEFENDANT(S)

$TA l'E 017 NEW YORK COUNT\' OF WESTCI-{ESTER

SS: G.-\RY KA\’ULiCl-i, ESQ. HLRLBY DEPOSES AND SAYS UNDER, THE PENALT|ES OF I"URJURY. THAT DEPDNENT 13 THE

ATTORNEY FDR THE PLMNTIFF(S) IN 'I`HE Wl'l`HlN ACTION; Ti-liS AC‘I`lON WAS COMMENC}ED HY SUBS'l`lTUED SERVICE

OF 'l`l'iF, SUMMONS Al"~iD COMPLAINT UPON DEFENDAN'l`(S) AND IS AN ACTION FOR RENT DUE AND OWING FOR (AFTER

APl’LlCA'I`lON C)F PAYMENT AND SECUIUTY DEPDS|T]

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YORK. RENT WAS NDT PAID BY ANY DTHER SDURCE. I MAKE THIS AF[`IRMATION UPQN INI`ORMATION AND BELIEF A

BELIEF Pii_EDlCATED UI’ON CONVERSATIONS WlTl-l MY CLIENT M'¥' INVOLVE E, ~ PROCEEDING AND READ[NG

'I`HE FIi,E i`N THIS CASE

SEC.OND AND 'I` l-llRD CAUSES OF A(_,"l lClN AR.E HEREBY WAIVED.
Wl-IEREFDRE DEPONENT DEMANDS J`UDGMENT AGAINST DA ‘

t/ 1/2003 TOGETHER WlTI-l COSTS AND DIESBURSEMEN'I`S OF '1` :

 

     
 
  

1 l,'iES_OOWlTI-I INTER_EST FROM

_ w _
KAVUI_.ICl--I ' ‘ ` iATlES, P.C.
BY: GARY KAVULICI-I, ESQ.

30 CHURCH STREET, SUITE 26
NEW ROCHELLE, NY 10801

TO Tl-lE DEFENDANT(S): PLEASE TAKE NOTICE Ti-IAT THE WITHlN 15 A TRL|E COPY OF A JUDGMENT MADE AND
El\"l`l§i{[".l.") IN Ti'll':` Wl'l`l“ilN liiN'l`iTLl€D ACTION AN`D DUI..Y FILED lN THE OFFICE C.'rl"" THE CI.,ERK C|F THE COUNT ON

DA'i`i`i[J: Wl"iSTCH}:`.S'i“ER, NY 'r'OURS, ETC‘,
4!6!2009 A'l`TORNEYS FOR PI,,AINTIFF
S“l"A‘I'E OF NEW YORK, COU`N'|`Y OF SS:

BEING DULY SWORN, DEPOSES AND SAYS', THAT DEFONENT iS NO'I' A P.ARTY TO 'I`HE ACTION, IS OVER 13 YEARS Ol"` AGl':`
AND RHSIDES lN

'l`HAT ON DEPONENT SERVED .l\ TR.UE COPY OF THE WlTI-IlN JUDGMEN'I* AI\'D NO‘I`[CE ClF ENTRY TI-IEREOF
(EACH OF) 'I`HE FOLLOWING NAMED DEF]E`NDANT(S) AT 'l`l-ll:`. ADDRESS(ES) lNDICATED (FOR EACH):

BY DFEFOS[T[NG SAME ENCLOSED lN POSTPAID PROPERLY ADDRESSED WRAPPER(S}, ]N ~A POST OFF[CE- OFFlClAL
Dlil"OSlTGl?.Y UNDER 'l`}'l`E F.XCIJUS|VE CARE AND CUSTO F T -lE, ITED STA'I`ES POS'I`AL SERVICE WITl-ifN NEW
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(_"l\'ll. C.`OUR.T Ol"` 'l`l'lE CITY Oli` N[".W YORK

COUNTY OF BRONX

_______________ ---- -------- INDE.X NO. 10935/09
Valentine Aperimi:nls, LI.,C,

 

PLMNT]FF(S) AFFIDAVIT OF
MAlLlNG OF ADDI'l`lONAL
1.¢51'[1~¢*111\‘5'1`- NOTICE OF SU]'T

Metling Thontpson. Jessiea Matias

DEFENDANT(s)
sTATE ot= NEW rossi
C.oUt-t‘t‘Y or-‘ WEsTCt-iesres.) ss;

GARY KAVULICH, ESQ., BEING DULY SWORN l'iii.l`\’.lSBY DEPOSES AND SAYS:
1_ 1 AM THE AT'I`ORNEY FOR 'l`HE PLAINTlFF(S) 1-IER_EIN.

2, 'I`HE ABOVE EN'I`I'I`LED ACTION 15 AGAWST ft NA'I`UR,AL PE`.RSON AND IS BASED
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---LAST KNOWN ADDRESS AT: Mciling Thompson, _ 2505 Marion Avenue Apr_ 2A Bronx, NY 10458
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~»~»-»-PLACE OF ISMI’LOYMENT A'l`:

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------- A KNOWN ADDILESS ClF ’I`HE DEFENDANT A'l`:

`I'l‘ilS ADDRESS 15 NOT TI-IE RESIDENCE OR PLACE OF EMPLOYMEN'[` OF THE DEFENDANT.

 
  

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Page 63

 

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 64 of 79

CIV[L COURT OF THE Cl'l`“!' C)F NEW YORK

 

 

COUN“[`Y OF BRONX
---- X
VALENTlNE APARTMi“-.NTS, LLC, lndex No, 10985/09
Filc No. 5327
t’laintill`,
-ageinst- AFFIDAVIT QF
lNVES'I`I GATOR
ME[LING 'I`HOMPSON, JESSICA MA'I`!AS,
Def`endant(s).
.............................................................. x
STATE OF NIEW YORK )
)SS.:

COUNTY OF WESTCHESTER )

l am over 13 years ol` age. am not a party lo this action and reside in Westchester County.
Scate oi'New York.

1 have been requested by Knvuiich & Associatcs, P,C. attomey`s for the Plaintift‘, to make
an investigation to ascertain ii` the Del`endenl(s) Jcssica Matias is at the present
time in military service.

On Aprll 6, 2009, l Denise Mirattda, contacted the Dei`ense manpower Date Center
concerning the Det`endant .lessica matias' military status.

1 inputtcd the social security number, as provided by the Del`endant, into the Del`ense
lvlanpower Data Ceoter.

Under the Del`etidaut’s social security number I received an affidavit from thc Dci'cnsc
Manpower Data C.‘enter stating that the said i`)et`endant is not currently in the military

service ot` the United Stntes and the State ot`New Yorlc (N,atidital G/ua_rjj/
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Page 64

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 65 of 79

 

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I`NVEST|GATDR
1\'1 siting Thompscn, -lessica M`atias
Defendant(s).
m. .._. _-_.;>{
STATE {DF NI.EW ‘t'ORl<“. )
)SS.:

CZOUN']`Y Oti WESTC'I'IESTER )

l am over itt years ol`age, am not a party to this action and reside in Westchester County,
State ol`Ne\v ‘r’ork.

- I have been requested by Knvutich & Associates, F.C. attorney for tire Plaintit`t`, to make
mt investigation to ascertain il'tl‘ic Del`ertdaitt(s) ].`vleiling Thorrtpson is at tltc present
time in military service t`or the purpose of entry of judgment

On April 6, 2009, l Denise Mirartda, contacted the Det'euse manpower Date Center
concerning the [Jet`endant Meiling “l`liompson military status.

1 imported the social security number, as provided by the Dei`endant. into the Det'ense
l\'ianpower lData Ce-nter.

Under the l')cl`endant`s social security number l received an affidavit l`rorn the lite-tense
Manpower Data Centerstatiug that the said Del`endant is not currently in the military

service ol` the Unlted Stat'es and the State oi` New 't'ork (Vi@ Gunrd),
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\" OF BRONX

 

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FtLE No: 5327
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hereby deposes and says under the penalties of perjury, ss:

That deponent is the managing agent of Valentine Apanments, LLC, Plaintiff in the within action; this action
was commenced by substituted service of the summons and complaint upon defendant(s) and is an action
for breach of a lease agreement in the amount of stt,'rss.oo for the months January, 2003 balance of
$?GB.OO;February, 2008 through and including Novernber, 2008 at the agreed monthly rental amount of
$1,“|00.00 per month; (after application of security and after application of payments) no part having been
paid. although duly demanded Ali other causes of action are hereby waived and disposed of. Aiter a
complete and thorough investigation. as l have been informed by P|aintit"t ‘ s counsei, the defendant(s)
isfare found not to be in the military and reside(s) in the City of New York. Rent was not paid by any other
source. l make this at“Hrmation upon personal Know|edge.

 

WHEREFORE, Plaintiff demands judgment against defendant for sit,?ssioo with interest fro Januaijy l, 2008
together with costs and disbursements of the action.

Dated: 114/2009

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Notary Publie Vl~t

 

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3 quest for Milrtary Status ‘ Pagc l of 1

Dcpartment ol`Defensc lv‘.[a!'tpower Data Ccntcr APR-Oti-ZOOQ 09:3 1157

l Militat'y Status chort
Put'suant to the Servieemcmbers Civil Relicf Act

 

 

 

"'¢~ilsastl`iante First/Middle Begiul)ate Aetivel)uty Status Service/Ageney

'l`HC)MPSON ME[I.,I`NG leased on the information you have furnished, the DMDC does not possess any
information indicating that the individual is currently on active duty.

 

 

 

 

 

 

 

Upon searching the information data banks of the Departmcnt of Defense tvlanpo\ver Data Center, based on the
information that you providcd, thc above is the current Status ofthc individual as to all branches of the

weren twech

Mary M. Snavely-Dixon, Director

Departnnent of Defense - Manpower Data Center
1600 Wilson Blvd., Suite 400

Arlington, VA 22209-2593

 

The Det"ense Manpower Data Center (DMDC) is an organization of the Department of Defense that maintains
the Det`ense Enrollment and Eligibility Reporting System (DEERS) database which is the official source of
data on eligibility for military medical care and other eligibility systems

The Department of Defense strongly supports the enforcement of the Servicemenibers Civil Relief Act [50
`USCS App'.\t. §§ 50l ct ch] (SC`R.A) (formcrly the Soidiers' and Sailors' Civil RcliefAct of 1940). DMDC has
issued hundreds ot`thousands of "does not possess any information indicating that the individual is currently on
active duty" responscs, and has experienced a small error rate. in the event the individual referenced above-, or
any family member, friend, or representative asserts itt any manner that the individual is on active duty, or is
otherwise entitled to thc protections ofthc SCRA, you are strongly encouraged to obtain further verification of
the person's active duty status by contacting that person's l'vtilitary Service via the "det"cuselinlc.mii" UR.L
provided below. li` you have evidence the person is on active~duty and you fail to obtain this additional
Miiitary Service verificat'ion, provisions of the SCR.A may be invoked against you.

If you obtain further information about the person ( e.g., an SSN, improved accuracy of DOB, a middle namc),
you can submit your request again at this Web site and we will provide a new certificate for that query.

This response reflects current active duty status only. tier historical inforination, please contact the iviilitary
Service SCRA points-of-contact.

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WARNING: T his certificate was provided based on a name and Social Sccurity number (SSN) provided by the
requester. Providing an erroneous name or SSN Wiil cause an erroneous certificate to be provided

Report !D:C'A FIJNDA WFV

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https://www.dmdc.osd.nt1lfscrafowa/sct'a.prc_Sclect 4/6/2009

  

 

 

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Departmcnt ot` Dct`ense Manpo\ver Data Center replica-2009 00:35:2\'1

_- lvtilitary Status Report
- Pursuant to the Servicemetnbers Civil Reiict`Act

 

 

 

 

 

 

 

“"‘i: Last Name I~`irst/l\'lidtlle Begitt l)ttte Aetivt' I)uty Sttttus Servioefr\g'ency
MATIAS JESSIC'A Based on the ittlbt'tnation you have t`umished, the DMDC does not l.'rosscss any
information indicating that the individual is currently on active dttty.

 

 

Upon searching the information data banks ot`t|ie Department ot`l`)et`cnsc Manpo\ver Data Center, based on the
tnt`omtation that you provided, the above is the current status oi'the individual as to all branches ot`thc

nepa seasons

Mary M. Snavely»Dixon, Director

Dcpartmcnt ot` Det`cnsc - Manpowcr I)ata Ccnter
1600 Wilson Blvd., Suite 400

Arlington, VA 22209-?.593

 

The Dci`ense Manpower Data Ccnter (DMDC) is an organization ot`the Department of Det`ensc that maintains
the t`.ch`cnse linrolhncnt and titigibility ltcporting System (DEERS) database which is the official source et`
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"l`lte l)epartrnent of Dct`ense strongly supports the enforcement oi`titc Serviccmcmbers L"`ivil Rcliel`Act 150
USCS Appx. §§ 501 et scq] (SCR,A) (t`onnerly the Soldiers' and Sailors‘ Civil ltcliet`r\et of 1940). 1`)1\*11)13 has
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provided below. It` you have evidence the person is on active-dirty and you t`ail to obtain this additional
Military Service veritication, provisions ot`thc SCRA maybe invoked against you,

I t` you obtain further information about the person (` c.g., an SSN, improved accuracy oi`DClt_i, a middle namc),
you can submit your request again at this ch site and we will provide tt new certificate t`or that query.

']`his response reflects current active dirty status only. lior historical infionnation, please contact the Military
Scrvice SCRA points-of-contact.

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requester. Providing an erroneous naruc or SESN will cause nn erroneous certificate to bc provided

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Case 1:16-cv-02_134-ALC Document 86-45 Filed 08/18/17 Page 69 of 79

 

ClVlL COURT Cti" 'I`I~IE C‘I'TY C`|F NEW YORK
COU`NTY OF BRONX

Valentinc Apartments, LLC,

INDEX NO. 10985/09

PLAINTiFF(s) AFFtnAvtT or
MAtLrNG or AnmrroNAL
m.»tonn~tsr- No'rtce or star

Meiting Tl\ompson, Jcssica Matias

osrsunanr(s)

 

STATE QI~` NEW YORK)
COUNTY OF WESTCI‘IESTER) SS:

GARY KAVULlCH, ESQ,, BEING DULY SWORN HER_EBY DEPOSES AND SAYS:

l. l AM TI-IE AT`[`OR_NEY FOR THE PLA]'NTI`FF(S) HER_EIN.

2. THE ABOVE ENTITI_.ED ACTION 13 AGAINST A NATURAL PERSON AND 13 BASED
UPC}N NON PAYMENT CIF A CONTR,ACTUAL OBLIGATIDN.

3. ON 3/13."2009,1 MAII_.ED A COPl§.bF THE SUMMONS AND CDMPLAINT l'N THE ABCVE ENTITI_.ED ACTION BY DEPOS]TING
THE ENVEI..OPI§IN AN OFFICIAL DEPOSITORY UNDER THE EXCI.,USIVE CAR.E AND CUSTOI§)Y OF Tl~lE U.S. POSTAL
SERVICE WITHIN NEW YC)R.K STATE. SAID MAlLlNG WAS BY FIRS'I` CLASS MAIL IN A POSTPAID ENVELOPBF, PROPERLY

ADDRESSED TO THE IJE.FENDAN'T`(S), THE ENVELOPL§BDR.IZ THE l,HGlBNID
“PERSC}NAL & C.`.'ONl"`lDl':`N'l`IAL” AND TIIERE WAS l'~i() INDICA l`lON ON THlf OUTSIDE Ol"" Tl~il':` ENVELOPESTH_AT "I`HE

COMMUNICATION WAS FROM Al‘~l ATTOR_NEY OR CONCERNED A`N ALLEGED DEBT. AT DEI ENDANT°(S);
Y /"/»"h/ec/ save reer 74 teams 476»05-/1/ e'»-r*,'

--LAS'I` KNOWN ADDRESS A"I`: Meil.ing Tltompson, . , 2605 Man'on Avenue Apt. ZA Bronx, NY 101-158
"'.ic S.t.'c.q Nn-litt.'»`?d? Audubon Avenue Apt. 33 New York, NY 10033-7316

»-----»PLACE Ol"` EMPLGYMENT AT:
'i`l'll". ENV]:`.LOPE BOR_E TI‘IE LEGT_€ND “PERSONAL dr CONFIDENTIAL" AND THERE

WAS NO INDICATION ON THE QUTSIDE OF THE, ENVELDPE THAT THE
COMMUNICATION WAS IiRC\M AN A'I"`I`ORNEY` OR CONCERNED AN ALLEGED DEBT.

»»»»»»» A KNOW`N ADDRESS Ol"` 'l`l~ili DEFENDAN'I` AT:
Tl'ilS AIJDR_ESS IS NOT 'i`l'll`_~`. R_ESlD]ENCE OR PLACE OI" EMFLOYMENT OF THE DEFENDANT.

  
  
  

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Page 60

 

` .16-cv-02134-ALC Dé'cumentée-¢ts Filed 03/18/17 Page 70 or 79

  

CIVIL COURT DF THE CITY OF NEW YORK

 

 

CO{_J'NTY OF BRC|NX
»»»»» }t
VALENTINE APARTMENTS, LLC, Index No. 10985/09
File No. 532‘7
Plaintifi",
-against- AFFII)AVIT OF
M
MEILING THOMPSDN, JESSICA MAT[AS,
Del`endant(s).
--- -X
STATE OF NEW YOR_K )
)SS.;

COUN'l`Y OF WESTCHESTER }

I am over 13 years of age, am not a party to this action and reside in Westchcster County,
State of`Nevv "t"orl-r,

I have been requested by Kavulich dr Asscciates, P.C. attorncy's for the Ptaintit'f, to make
an investigation to ascertain if the Def`endant(s) Jessica Matias is at the present
time in military service_

On April 6, 2009, I Denise Miranda, contacted the Dei`ense manpower Date Center
concerning the Def'endant Jcssica matias’ military statns,

.l inputt'ed the social security number. as provided by the Det`endant, into the Del`ensc
Manpower Data Center.

Under the Det`endant’s social security number I received an affidavit frorn the Det`ense
Manpovver Data Center stating that the said Det"cndant is not currently in the military

service of the United Statcs and the State ot`New Yorl:?tintj:t:);/
_,»r

`Deiii'sc Miranda

Sworn to before me this
") /”bay arnpra, 2009

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CIVIL COURT C|F THE Ci'l"{ OI" NEW YORK

 

 

CDU`NTY C|F BRONX
m. mm... -x
Valentine Aparttnents, LLC,
lntiex No. 1098$/09
I-`ile No. 5327
P'laintif`i`1
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Ms.t‘.ica;rn.e
Mei|ing Thempson, Jesslca Matlas
Dei`enciant(s).
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STA.TE C)i-` `NEW YORK )
)SS.:

COUN'I`Y OF WESTCHESTER )

i tit"t'l over 13 years ofagt:, am not a party to this action and reside in Westehester County,
Stnte of New Yot'it.

l have been requested by Kavnlich S: Associates, F.C. nttomey i"or the Plaintii't", to make
an investigation to ascertain if the Del'entiant(s) Meiiing Tbompson is at the present
time in military service for the purpose of entry ot`juclgmcnt.

On Apn'f 6, 2009, I Denisc Miranda, contacted the Dcfense manpower Date Center
concerning the Defendant Meiiing Thcrnpscn military status

l inpurted the social security nnrnber, as provided by the Dei`entinnt, into the Dci'ense
Manpower Data Center.

Unrier the l)ei`endant's social security number I received an affidavit from the Defease
Maapcwer Data Center stating that the said Def`enclantl is not annually in the military
service oi` the United Stntes and the Stnte oi` New York (i\?o€?|"(§uard).

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1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 71 of 79 _

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X INDEX NO:
i"iLE NO: 5327

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-AGAINST~ AFFIRMATtoN ot= FACTS
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hereby deposes and says under the penalties of perjury. as:
That deponent is the managing agent of Valentine Apartments, LLC, P|aintiff in the within action; this action

was commenced by substituted service of the summons and complaint upon defendant(s) and is an action
for breach of a lease agreement in the amount of $11,763.00 for the months ianuary, 2003 balance ci
$768.00;l'-'ebmary. 2008 through and including Novernber, 2008 at the agreed monthly rental amount of
$1.100.00 per month; (after application of security and after application of payments) no part having been
paid, although duly demanded All other causes of action are hereby waived and disposed of. After a
complete and thorough investigation1 as | have been informed by Plaintiff ‘ s counsel, the defendant(s)
isfare found not to be in the military and reside(s) in the City of New York. Rent was not paid by any other
source. l make this affirmation upon personal Knowledge.

WHEREFORE, F’l.aintiff demands judgment against defendant for st 1,753.00 with interest from Januar_v 1, 2003
together with costs and disbursements of the action.

Dated: 114/2009
Sworn to before me }/ U ' ///é/l
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gm 624

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BARBAF!A F. T¥LEFt
NUTARY PUBLIC, State cl New Ycrk
No. 50183940
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Ccrnrnissiaa Expires Julv 7, EUZL

Page 72

  
 
 

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 73 of 79
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Departmcnt of Dcfensc Manpower Data Center APR-06-2009 09:3] :57

Military Status Report
‘- Pursuant to the Servicemombers Civil Relief Act

 

 

 

 

**C Last Name First/Middle Begin Date Aetive I)nty Stntus Service/Agcncy

THOMPSON MEILING Based on the information you have i`urnished, the DM.DC does not possess any
information indicating that the individual is currently on active duty.

 

 

 

 

 

 

Upon searching the information data banks of the Department of Det`cnsc Manpower Data Center, based on the
information that you provided, the above is the current status ofthe individual as to all branches of the

wasn warsaw

Mary M. Snavely~l`.lixon, Director

Department ol` Det"ense - Manpower Data Ccnter
1600 Wilscn Blvd., Suite 400

Ariington, VA 22209-2593

 

’l`he Det`ensc Manpcwer Data Center (DMIT)C) is art organization of the Department ot` l`)et`ense that maintains
the Dei`ense Enrollment and Eligibility Reporting Systent (DEERS) database Wliich is the official source of
data on eligibility for military medical care and other eligibility systems.

The Dcpartmcnt ofi)cfonse strongly supports lite enforcement of the Servicemembers Civil Relicf`Act [50
USCS Appx. §§ 501 et scq] (SCR.A) (i`orrneriy the Soldiers' and Sailors‘ C.`ivil Reliet` Act of 1940). DMDC has
issued hundreds of thousands of "does not possess any information indicating that the individual is currently on
active duty" responses, and has experienced a sntall error ratet In the event the individual referenced above, or
any fernin mcmber, l`riend, or representative asserts in any manner that the individual is on active duty, or is
otherwise entitled to the protections of the SCRA, you are strongly encouraged to obtain further verification of
the person's active duty status by contacting that person's Military Service via the "del"enselink.mil" URL
provided below. If you have evidence the person is on activc~duty and you i`sil to obtain this additional
Military Service veritication, provisions of the SCRA may be invoked against you.

ll` you obtain further information about the person ( e.g., an SSN, improved accuracy of DOB, n middle name],
you can submit your request again at this Web site and we will provide a new certificate i`or that query.

This response reflects current active duty status only. For historical informalion, please contact the Militat'y
Servicc SCRA points~of~contact.

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WARN!NG: 'l`his certificate was provided based on a name and Social Security number (SSN) provided by the
requester. Providing an erroneous name or SSN will cause an erroneous certificate to be providedl

Report !D.‘C`AFIJNDA WFV

Page 73
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ucst for 1 ttary tatus l page 1 01-1

Deprrrt:rnent of Defcnse Manpower Data Center Apg-[)g-gggp 09;35;15

_ Miiitary Status Report
ii Pursuant to the Scrvicemenrbers Civil liteliefAet

 

 

 

 

‘*‘»'l Last Name First/Middtc Begin I)ate Aettve baty Status Servieefagcncy

MA’l`lAS JESSICA Based on the infcnnation you have furnished, the DMDC does not possess any
information indicating that the individual is currently on active duty.

 

 

 

 

 

 

Upon searching the information data banks ofthe Departrnent of Defense Manpower Data Center, based on the
information that you provided, the above is the current status of the individual as to all branches of tire

nasa tanner

Mary M. Snavcly-Dixon, Director

Department of Defense - M`anpower Data Center
1600 Wilson Blvd., Suite 400

Arlington, VA 22209-2593

 

The Defense Manpower Data Center (DMDC) is an organization of the Departrnent ofDefense that maintains
the Defense Enrollment and Eligibility Reporting Systcm (DEERS) database which is the official source of

data on eligibility for military medical care and other eligibility systems.

'i“ he Dcpartrncnt of Defense strongly supports the enforcement ofthe Serviccniembcrs Civil Reiiet` Act [50
USCS Appx. §§ 501 et seq] (SCRA) (f`or"merly the Soldiers' and Sailors' C`ivil Relief` Act of1940). DMDC has
issued hundreds cf thousands of "does not possess any information indicating that the individual is currently on
active duty" responses, and has experienced a small error rate. In the event the individual referenced above, or
any family member, friend, or representative asserts in any manner that the individual is on active duty, or is
otherwise entitled to the protections of the SCRA, you are strongly encouraged to obtain further verification of
the person's active duty status by contacting that person's Military Service via the "det`enseiinlc.rnil" UR.i.
provided below. If you have evidence the person is on aetive~duty and you fail to obtain this additional
Military Service veritication, provisions oftlre SCRA may he invoked against you.

li" you obtain further information about the person (` e.g., an SSN, improved accuracy of DOB, a middle name),
you can submit your request again at this Web site and we will provide a new certificate for that qucry.

This response reflects current active duty status only. For historical information, please contact the lvtilitary

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requester. Providing an erroneous name or SSN Will cause an erroneous certificate to be provided

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Case 1:16-cv-02134-ALC_ Document 86-45 _Filed 08/18/17 Page 75 of 70

AFi"l'DAVl'I` Ol'*` SERVICE
ClVlL COURT O[" Tl~lE ClTY OF NEW YORK Index No. l0935/09
COUN“[`Y OF BRONX Filed:

Attorneys: Kavuliclr & Assooiatcs, P.C.
Addresst 30 Church Street, Suite 26, New Roehellc, NY 10301 File No. 5327

Vr-'\LENTINE Al"ARTMENTS l..LC1
vs.
JESSlCA MATIAS.
MElLlNG THGMPSON,

 

State ofNew Yorlc County of Nassau SS:

Qhafin [ivans, being duly sworn deposes and says:

Deponent is not a party herein1 is over 18 years ofage. On M at _l_;§_fi_p:_g}_,.

At: 2605 Maricn avenue1 Apt. ZA. Brugx, NY lD¢IiSL served the within Summons and Complaint

on: MEILING THOMFSON, Dcfendant therin named

individual By delivering a true copy of each to said recipient: deponent knew the person
1] served to be the person described as said person therein. ' »

Corpcration By delivering to and leaving with and that deponent knew the

[ ] person so served and authorized to accept service orr behalf of the Corporation .-
Suitable Age B_v delivering a true copy of each to a person of suitable age and discretion _
Person Said premises is recipients [ 1 actual place of business [X] dwelling house within the 1 1
[X] state. `__`»_
Affixing By affixing a true copy of each to the door of said premiscs, which is recipients
to Door [ ] actual place of business [X] dwelling house (placc of` abode) within the state
[Xl

lviail Copy On February ld, 2009 deponent completed service under the last two sections by
[ ] depositing a copy ofthe Summons and Complaint to the above address in a lm
Class properly addressed envelope marked “Personal and Conf.idential” in an official
depository under the exclusive care and custody of the United States Post Cti`iice in the State
ofNew Yorit.
Deponent was unablc, with dire diligence to find the recipient or a person of` suitable age
and discretion having called tlrereat:

On the day of at
On the day of at
On the day of at

Descn'ption A description of the Defendant cr other person served on behalf of the Def`endant
[] Scng_ Color ofsltin: ERN Color ofl-lair: BLK Age: 45~»50 lieight: 5’6" Weighi: l59LBS

Militsry Svce Deponcnt asked person spoken to whether the recipient was presently in military
[ X ] service ofthe United Statcs Government or of the State of New York and was
informed that the recipient is M. Rccipient wore civilian clothes and no military uniform
Other
[)t]“.iane T_)oe" stated that the Defendant is t ot in the military. %7¢
Cii'a iins
l..lC 1243320

 

 

 

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Page 75

Case 1:16-cv-02134-ALC Document _86-45 Filed 08/18/17 Page 76 of 79

Al"*`lill)AVlT OF SERVICE
ClV`IL CDUR.T OI" 'l‘l-lli Cl']`Y OF NEW YORK. index No, 10935/09
CC)UNTY OF BRONX Filed:

At'torncys: Kavulioh dc Associates, P.C.
Addrcss: 30 Chtn'eh Strcet, Snitc 26, New Rochcllc, NY ]OSOI File No, 5327

VALENTINE APARTMENTS Ll.C,
vs.

JESSlCA MATIAS,

MEILING 'l`liOMFSON,
State of New Y`orlc Connty ot`Nassau SS:
Cl\at`in Evan.§1 being doty sworn deposes and says:
Deponent is not a party herein, is over 18 years ofage. On ,l-ebru‘gy 13, 2009 s1"l_:"§_l},};tm.mr_n_"1
At: 247 Audubon Avenue1 Apt. 33, New Yor|;,k NY 10033~'7316 served the within Sumrnons and
Complaint on: JESS[CA MATIAS, Del`endant therin named

Individual By delivering a true copy oi` each to said recipient deponent knew the person
[] served lo be the person described as said person therein. ,` _

Corporation By delivering to and leaving with and that deponent knew the -- ,
f ] person so served and authorized to accept service on behalf of the Corporation' '-

Suitable Age By delivering a tree copy of each to a person of suitable age and discretion

Person Said premises is recipients [ ] actual place ot” business [X] dwelling house within the
[X] state.
Aii'ixing By aflixing a true copy of each to the door ol` said premises, which is recipients l ." '.
to Door [_] actual place oi` business fX] dwelling house (place ot`abode) within the state `e;
[X]

Mail C.'opy Dn Febrorlry 14, 2009 deponent completed service under the last two sections by
[ ] depositing a copy of the Summons and Cornplaint to the above address in a l’“t
Class properly addressed envelope marked “l’erscnal and Confidential" in an official
depository under the exclusive care and custody of the l_lnited States Pcst Ot"fiee in the State

oi`New Yorlt.
Depenent was unable, with due diligence to find the recipient or a person ot`suitable age

and discretion having called thereat:

Ctn the day of at
On the day of at
Cln the day of at

Deseription l A description of the li>elbndanl7 or other person served on behalf`ol`tlte Dcl`enr;lant
l] Sex_:i Color oi`skjn: BRN Co|or of Hair: BLK Age: A_§;§_Q Heig,ht; §’ti” Weight: 159;¢3§

Military Svee Deponent asked person spoken to whether the recipient was presently in military
[ X ] service ol" the United Statcs Governrnent or of the State ot`New "l’orlt and was
informed that the recipient is n_ot. Rceipient wore civilian clothes and no military uniform
Other
[X]".lane Doe” stated.that tire Del‘endan t is ot in the military.

Sworn to o me /op'lh lhi-_'élay of Z U/

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Case 1:16-cv-02134-ALC Document86-45 Filedl08/18/17 Page 77 of 79

ClVll, COURT OI" Tl'lE Cl"l.`Y C)F NEW YORK
COUNTY OF BR.ONX
______________________________________________________ x
UXUQHS
Valcntine Apartments, LLC,
Plai.ntiff, IND]E`,X NO.
FILE NO. 5327

»against~

SU`M.MONS
Plece of Vernie is Plsintlt”i's
place of business:

Jessiea Matias, M`ei]ing Thonipson,
2654 Valantine Aventre
Bronx, l\iY 10458

`Det"endant(s)

...................................................... x
To the above named defendants(s):

YOU ARE i'iER.ElBY SUMMCNED to appear at the CIVIL COURT OF Tl`"lE CITY OF
NEW YORK, COUNTY C)F BRONX at the office of the clerk of the said Court at 851 Cirand
Ccnconrse, Bronx, NY 10451, in the COUNTY OF BRONX, Statc of New York, within the
time provided by law as noted below and to tile an answer to the below complaint with the
clerk: upon your failure to answer, judgment will be taken against you for the sum of

 

  
       
 

DATED: .`lannary 14, 2009

 

Kavulich & Assooiates, P.C.
Attorncy for Plaintiff

30 Chnreh Street

Suite 26
Ncw Rochel
(914) asset _ "

"\t.aa .o.m.

 

Defcndant’s Address:

iessiea Matias Meiling Thornpson '
247 Audubon lin/entre1 Apt. 33 2505 Marion Avenu Apt ZA.lAil 2 5 2009
l\iew Yorl<, NY 10033-7316 Bronx, N‘r' 10458

within the C`ity ot New York you must appear and answer within TWENTY days after such
service; or (b) Ifthe summons is served by any means other than personal delivery to you
within the City of New Yorl<, you must appear and answer within THlRTY days alter proof of
service thereof is filed with the Clerl< of this Courl.

Page 77

 

Case 1:16-cv-02134-ALC Document 86-45 Filed 08/18/17 Page 78 of 79

COMPLAINT

FIRST ACTION: Plaintiff seeks to recover damages front defendant(s) for breach of a lease
agreement in the sum of` iii 1,768.00 representing rental arrears for the months ofJanuary, 2003
balance of $760.00; February, 2003 through and including Noven“tber, 2008 at the agreed
monthly sum of $1,100.00 for the premises known as 2654 Valentine Avenue, Apt.$C Bron;tt,

NY l0453 together with costs and disbursements of this action and for such other and further
relief as the court may deem just.

SECC)ND ACTION: Plaintil"f seeks to recover damages from the defendant in the sum of $0.00
representing damages together with costs and disbursements of this action and for such other
and further relief as the Court may deem just.

'I`l~IIR.lJ ACTION: Plaintit`f seeks to recover damages from the defendant in the sum of

0500.00 representing reasonable attorneys fees together with costs and disbursements of this
action and for such other further relief as the Court may deem just,

WHEREFORE, Plaintifl` demands judgment (A) on the First Aetion, in the sum of $l 1,768,00
plus interest from .lanuary l, 2008 together with costs and disbursements of this action and for
such other and further relief as the Court may deem jusl, (B) on the Second Action, in the sum
of 0.000 plus interest from ianuary l, 2008 together with costs and disbursements of this
action and for such other and further relief as the Court may deem just, (C) on the Third
Actlon, in the sum ol"$500.00 together with costs and disbursements of this action and for
such other and further relief as the Court may deem j ust.

The Plaintii`l` in this action is NOT required to be licensed by the New York City
Depttrtment ot" Consumer Affairs.

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